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Benjamin J. Mann, Bar Number 7-5449
Stephen B. Watkins, Bar Number 7-5425
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File No: 55832

                         UNITED STATES BANKRUPTCY COURT
                          DISTRICT OF WYOMING (Cheyenne)

In re:
                                                   Chapter 7
DANIEL WRIGHT AND MARJORIE
VIRGINIA WRIGHT aka MARJ WRIGHT                    Case No. 19-20381
fka MARJORIE OBERLENDER fka
MARJORIE OBERLEN

                    Debtors.

LAKEVIEW LOAN SERVICING, LLC

                   Movant,

DANIEL WRIGHT AND MARJORIE
VIRGINIA WRIGHT aka MARJ WRIGHT
fka MARJORIE OBERLENDER fka
MARJORIE OBERLEN and RANDY L
ROYAL, Trustee,

                   Respondents

             MOTION FOR RELIEF FROM AUTOMATIC STAY
 (REAL PROPERTY) OR IN THE ALTERNATIVE ADEQUATE PROTECTION, AND
                     NOTICE OF TIME TO OBJECT

         Lakeview Loan Servicing, LLC (“Movant”) hereby moves this Court, pursuant to 11

U.S.C. § 362d(1), for relief from the automatic stay or in the alternative for adequate protection

with respect to certain real property of the Debtors having an address of 1829 Omaha Trl, Bar

Nunn, WY 82601 (the “Property”). In further support of this Motion, Movant respectfully states:
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        1.     A petition under Chapter 7 of the United States Bankruptcy Code was filed with

respect to the Debtors on June 14, 2019.

        2.     The Debtors have executed and delivered or are otherwise obligated with respect

to that certain promissory note in the original principal amount of $247,959.00 (the “Note”). A

copy of the Note is attached hereto as Exhibit “A”. Movant is an entity entitled to enforce the

Note.

        3.     Pursuant to that certain Mortgage (the “Mortgage”), all obligations (collectively,

the “Obligations”) of the Debtors under and with respect to the Note and the Mortgage are

secured by the Property. A copy of the Mortgage is attached hereto as Exhibit “B”.

        4.     All rights and remedies under the Mortgage have been assigned to the Movant

pursuant to that certain assignment of mortgage, a copy of which is attached hereto as Exhibit

“C”.

        5.     The legal description of the Property is:

               Lot 9, Block 11, “McMurry No. 1”, an addition to the town of Bar Nunn, Natrona
               County, Wyoming, as per plat recorded May 29, 2003, as Instrument No. 717364;
               Recorded on June 2, 2015, Entry Number 993104.

        6.     As of July 12, 2019, the outstanding Obligations are:

    Unpaid Principal Balance                      $230,264.01
    Unpaid, Accrued Interest                      $4,590.94
    Uncollected Late Charges                      $66.43
    Pro Rata MIP/PMI                              $95.87
    Escrow Advance                                $2,049.12
    Other Costs                                   $30.00
    Recoverable Balance                           $1,353.20
    Less: Partial Payments                        ($0.00)
    Minimum Outstanding Obligations               $238,449.57

        7.     The following chart sets forth the number and amount of payments due pursuant

to the terms of the Note that have been missed by the Debtors as of July 22, 2019:



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Number of From                         To                     Monthly         Total Amounts
Missed                                                        Payment         Delinquent
Payments                                                      Amount
6              January 1, 2019         June 1, 2019           $1,425.29     $8,551.74
1              July 1, 2019            July 1, 2019           $1,411.54     $1,411.54
Less partial payments:                                                     ($0.00)
                                                            Total: $9,963.28

       8.       The estimated market value of the Property is $204,296.00. The basis for such

valuation is the Debtors’ Statement and Schedules, Schedule A/B: Property.

       9.       Upon information and belief, the encumbrances on the Property listed in the

Schedules or otherwise known, including but not limited to the encumbrances granted to

Movant, are: (i) Movant ($238,449.57).

       10.      Cause exists for relief from the automatic stay for the following reasons:

             (a) Movant’s interest in the Property is not adequately protected. The fair market

value of the Property is declining and payments are not being made to Movant sufficient to

protect Movant’s interest against that decline.

             (b) Pursuant to 11 U.S.C. § 362(d)(2)(A), Debtors have no equity in the Property; and

pursuant to § 362(d)(2)(B), the Property is not necessary for an effective reorganization.

       11.      Pursuant to L.B.R. 4001-1 A (6), a proposed order accompanies this Motion as a

separate document.

       WHEREFORE, Movant prays that this Court issue an Order terminating or modifying the

stay and granting the following:

       1.       Relief from the stay allowing Movant (and any successors or assigns) to proceed

under applicable non-bankruptcy law to enforce its remedies to foreclose upon and obtain

possession of the Property.




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       2.      That the Order be binding and effective despite any conversion of this bankruptcy

case to a case under any other chapter of Title 11 of the United States Code.

       3.      That the 14-day stay described by Bankruptcy Rule 4001(a)(3) be waived.

       For such other relief as the Court deems proper.




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                                         NOTICE OF TIME TO OBJECT

       YOU ARE HEREBY NOTIFIED that if you desire to oppose this Motion for Relief from

Stay, you are required to file with this Court and serve on Brian J. Porter, Halliday, Watkins &

Mann, P.C., attorney for the Movant, whose address is shown above, a written objection to the
                      August 12, 2019
Motion on or before                , or the relief requested may be granted by the Court.

       DATED this      25th   day of    July    , 2019.

                                                          Movant: Lakeview Loan Servicing, LLC


                                                          /s/ Brian J. Porter

                                                          By: Brian J. Porter
                                                          Attorney for Movant




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                                  CERTIFICATE OF SERVICE

         The undersigned hereby certifies that a true and correct copy of the foregoing was served
via first class mail or electronically this 25th day of July , 2019, addressed as follows:

Daniel Wright
Marjorie Virginia Wright
1829 Omaha Trail
Casper, WY 82601
Debtors
U.S. Mail

Stephen R. Winship
145 South Durbin Street
Suite 201
Casper, WY 82601
Debtors’ Attorney
Electronic Service

Randy L. Royal
P.O. Box 551
Greybull, WY 82426
Chapter 7 Trustee
Electronic Service

U.S. Trustee
308 West 21st Street, 2nd Floor
Cheyenne, WY 82001
Electronic Service

                                                             /s/ Brian J. Porter
                                                            Attorney for Movant




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                         UNITED STATES BANKRUPTCY COURT
                               DISTRICT OF WYOMING

In re:
                                                  Chapter 7
DANIEL WRIGHT AND MARJORIE
VIRGINIA WRIGHT aka MARJ WRIGHT                   Case No. 19-20381
fka MARJORIE OBERLENDER fka
MARJORIE OBERLEN

                    Debtors.

LAKEVIEW LOAN SERVICING, LLC

                   Movant,

DANIEL WRIGHT AND MARJORIE
VIRGINIA WRIGHT aka MARJ WRIGHT
fka MARJORIE OBERLENDER fka
MARJORIE OBERLEN and RANDY L
ROYAL, Trustee,

                    Respondents

                         ORDER GRANTING RELIEF FROM STAY

         THIS MATTER comes before the Court upon the Motion of Lakeview Loan Servicing,

LLC for Relief from the Automatic Stay. The Court, having reviewed the Motion and file in this

case, finds that no objections to the Motion have been filed and that good cause exists to grant

the requested relief.

         IT IS, THEREFORE, ORDERED that the Motion for Relief from the Automatic Stay

filed by Lakeview Loan Servicing, LLC is hereby granted; and
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        IT IS FURTHER ORDRERED that the stay provisions imposed by 11 U.S.C. §362 are

terminated as to the following collateral:

                Lot 9, Block 11, “McMurry No. 1”, an addition to the town of Bar Nunn, Natrona
                County, Wyoming, as per plat recorded May 29, 2003, as Instrument No. 717364;
                With an address of 1829 Omaha Trl, Bar Nunn, WY 82601.

        IT IS FURTHER ORDERED that Lakeview Loan Servicing, LLC and its successors and

assigns may proceed with all collection remedies available to it under state law, including, but

not limited to, foreclosure, repossession and sale of the collateral and will account to the Trustee

for all net surplus resulting from a sale of the collateral.

        DATED this               day of                  , 2019.

                                                         BY THE COURT




                                                         U.S. Bankruptcy Judge




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